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                                UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF CALIFORNIA



PASKENTA BAND OF NOMLAKI                           Case No. 2:15-cv-00538-MCE-CMK
INDIANS; and PASKENTA
ENTERPRISES CORPORATION ,

                   Plaintiff,                      FINAL JUDGMENT

       v.

INES CROSBY; et al.,

                   Defendants.




XX −− Decision by the Court. This action came to trial or hearing before the Court. The issues
have been tried or heard and a decision has been rendered.

THAT JUDGMENT IS HEREBY ENTERED IN ACCORDANCE WITH THE
COURT'S ORDER FILED ON 2/21/17

               IT IS ORDERED AND ADJUDGED that final judgment is hereby
               ENTERED in favor of defendants: Cornerstone Community Bank;
               Cornerstone Community Bancorp; Jeffery Finck; Umpqua Bank;
               Umpqua Holdings Corp.; Garth Moore; Garth Moore Insurance and
               Financial Services, Inc.; and Associated Pension Consultants, Inc.




February 21, 2017                                              MARIANNE MATHERLY, CLERK

                                                               By: /s/ R. Becknal, Deputy Clerk
